Case 1:04-cv-01220-.]DT-STA Document 31 Filed 08/04/05 Page 1 of 2 Page|D 26

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
CEDRIC D. WHISIDE, a/k/a “"
MALCOLM WHITESIDE,
Plaintiff,
vS. NO. 04-1220-T

DAVID WOOLFORK, SHERIFF, et al.,

Defendants.

ORDER OF REFERENCE

Motion to Hold Case & Scheduling Order in Abeyance is hereby refeired to United
States Magistrate Judge Thomas Anderson for disposition

IT IS SO ORDERED.

A»§)MM

JA S D. TODD
ED STATES DISTRICT JUDGE

UN[/QMVM&MS“

DATE

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This notice confirms a copy of the document docketed as number 31 in
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Honorable J ames Todd
US DISTRICT COURT

